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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA


 PARS EQUALITY CENTER, IRANIAN                   Case No. 1:17-cv-00255-TSC
 AMERICAN BAR ASSOCIATION,
 NATIONAL IRANIAN AMERICAN
 COUNCIL, PUBLIC AFFAIRS ALLIANCE
 OR IRANIAN AMERICANS, INC., et al.,

               Plaintiffs,

 v.

 DONALD J. TRUMP, et al.,

               Defendants.


                                   [PROPOSED] ORDER

       Upon consideration of the Motion of HIAS for Leave to File and Amicus Curiae Brief in

Support of Plaintiffs’ Motion for Preliminary Injunction, it is hereby ORDERED that the motion

is GRANTED.



Date:_____________________                        ______________________________
                                                  HON. TANYA S. CHUTKAN
                                                  United States District Judge
